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            16    WhatsApp LLC and Meta Platforms, Inc.

            17                                      UNITED STATES DISTRICT COURT

            18                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
            19
                                                              OAKLAND DIVISION
            20
                                                      )
            21      WHATSAPP LLC and                  )                 Case No. 4:19-cv-07123-PJH
                    META PLATFORMS, INC., a Delaware  )
            22      corporation,                      )                 REPLY DECLARATION OF DAVID J.
                                                      )                 YOUSSEF IN SUPPORT OF
            23
                                    Plaintiffs,       )                 PLAINTIFFS’ MOTION FOR PARTIAL
            24                                        )                 SUMMARY JUDGMENT
                           v.                         )
            25                                        )                  Action Filed: October 29, 2019
                    NSO GROUP TECHNOLOGIES LIMITED )
            26      and Q CYBER TECHNOLOGIES LIMITED, )
                                                      )
            27
                                    Defendants.       )
            28                                        )
                                                             [REDACTED VERSION]
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              1           I, David J. Youssef, declare as follows:
              2           1.       I submit this reply declaration in support of Meta Platforms, Inc. and WhatsApp
              3   LLC’s (collectively, “Plaintiffs”) Motion for Partial Summary Judgment (“Plaintiffs’ Motion”) in
              4   the above-captioned action (the “Action”).
              5           2.       I am employed as a Managing Director at FTI Consulting, Inc. in its Cybersecurity
              6   practice. I have been engaged by Plaintiffs’ counsel to serve as a technical expert in this Action.
              7           3.       Attached as Exhibit A is a true and correct excerpt of the expert report I submitted
              8   on August 30, 2024 (the “Opening Report).
              9           4.       Attached as Exhibit B is a true and correct excerpt of the rebuttal expert report I
            10    submitted on September 21, 2024 (the “Rebuttal Report”) in response to the report of Terrence
            11    McGraw, dated August 30, 2024.
            12            5.       I have personal knowledge of the facts set forth in this declaration, and of the
            13    opinions and bases for the opinions set forth in my Opening and Rebuttal Reports, including the
            14    excerpts in Exhibits A and B, and if called upon as a witness, I could and would testify truthfully to
            15    them.
            16            6.       I have reviewed the Declaration of Tamir Gazneli in Support of Defendants NSO
            17    Group Technologies Limited and Q Cyber Technologies Limited’s (collectively, “NSO”)
            18    Opposition to Plaintiff’s Motion. (Dkt. No. 421-2 (Gazneli Decl.)). I have also reviewed code and
            19    configuration files, and software logs, all of which I understand were from an Amazon Web
            20    Services server (the “AWS Server”) obtained from the U.S. Department of Justice. I also
            21    understand that NSO admitted it controlled the AWS Server and it housed certain “Pegasus code,
            22    Python scripts, [and] configuration files” during “periods prior to January 2021.” Dkt. No. 339-1
            23    (Gelfand Decl.) ¶¶ 6-8. The files from the AWS Server that I received are incomplete, and do not
            24    contain all of the code necessary to run all of NSO’s installation vectors.
            25            7.       In my Opening Report, based on my review of the files from the AWS Server,
            26    Plaintiffs’ documents, and the few documents produced by NSO, I opined that
            27                                                                                     but
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              4                                                       Ex. A at 27-28. In my Rebuttal Report, I noted
              5   that
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              7                             Ex. B at 15-16 (quoting Gazneli Dep. at 161-162). In addressing Mr.
              8   Gazneli’s claim
              9                                       I opined that
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            12                                                                         Ex. B at 16 (quoting Gazneli
            13    Dep. Tr. at 187-188).
            14

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            19                                                                        Ex. B. at 16.
            20            8.
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            22                                                                                           Gazneli Decl.
            23    ¶¶ 4-5. I am not aware of any documentary evidence supporting Mr. Gazneli’s contention, and note
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            27                                                                                   . NSO has not
            28    produced any computer code for Pegasus that is available for my review, and Mr. Gazneli has not
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              1   provided any detail on
              2                                                                               Ex. B at 16.
              3           9.       In fact, Mr. Gazneli’s suggestion that
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                                                                                                      . SSL pinning
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              1   is a security mechanism employed by the Official Client in 2019 by which the Official Clientwould
              2   associate certain devices, e.g. WhatsApp servers, with specific cryptographic certificates, in order
              3   to prevent the interception, modification, or redirection of traffic intended for those devices.
              4            13.     In my expert opinion,
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              7                                                                                    . NSO has not
              8   produced any technical documentation that shows, or even indicates, that
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            10             14.     In my Opening Report, based on my personal experience and research, I state that
            11    “the user’s acceptance of WhatsApp’s Terms of Service . . . must be done before completing the
            12    WhatsApp registration process,” and “[o]nly once the sign-up process has been completed can the
            13    user access the WhatsApp services and the full functionality of the WhatsApp Client Application.”
            14    Ex. A at 26-27.
            15             15.     Counsel for Plaintiffs has asked me to determine, to the extent possible, from
            16    publicly available materials how WhatsApp’s registration process would have appeared to NSO in
            17    2018 and 2019.
            18             16.     Based on the logs from the AWS Server, I identified two versions of WhatsApp
            19                                  in 2018 and 2019 (“2.18.380-45261” and “2.19.98-452742”). I was then
            20    able to locate copies of the Android Package Kit (“APK”) files for those versions of WhatsApp on
            21    APK Mirror,1 an online repository that archives APK files for older versions of mobile Android
            22    applications. Version 2.18.380-45261 was uploaded to APK Mirror on December 13, 2018, and
            23    version 2.19.98-452742 was uploaded on April 10, 2019. In my expert opinion, APK Mirror is a
            24    reliable source for such archived APK files that I use in the regular course of my work.
            25             17.     After installing the APK files on a test Android device, I was able to run the
            26    applications and determined that the first screen shown to a user in both versions is the same, and
            27
                  1
                      https://www.apkmirror.com
            28
                                                                    4
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              1   requires the user to consent to WhatsApp’s Terms of Service before the user can progress further in
              2   the application. Figures 1 and 2 below are screenshots of the initial screen on version 2.18.380-
              3   45261 and version 2.19.98-452742, respectively. The screen contains the language “Read our
              4   Privacy Policy. Tap ‘Agree and Continue’ to accept the Terms of Service,” immediately above a
              5   large green button that reads “Agree and Continue.” The terms “Privacy Policy” and “Terms of
              6   Service” are blue hyperlinks, and the hyperlink for “Terms of Service” directs users to
              7   https://www.whatsapp.com/legal/#terms-of-service. That URL directs to a webpage currently
              8   containing WhatsApp’s Terms of Service. Archived versions of that webpage from the dates that
              9   the APK files were uploaded to APK Mirror also contain the Terms of Service, with a notation that
            10    they were last modified on August 25, 2016.2 The user must click on the “Agree & Continue”
            11    button in order to progress further in the application, including to create an account and send
            12    messages.
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                    https://web.archive.org/web/20181213053133/https://www.whatsapp.com/legal/#terms-of-service
                  (archive on Dec. 13, 2018);
            27    https://web.archive.org/web/20190410071846/https://www.whatsapp.com/legal/#terms-of-service
                  (archived on Apr. 10, 2019).
            28
                                                                    5
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            17    Figure 1: Initial Screen on WhatsApp version            Figure 2: Initial Screen on WhatsApp version
            18                   “2.18.380--45261”                                       “2.19.98-45274”.
            19
            20            I declare under penalty of perjury that the foregoing is true and correct.
            21            Executed on October 18, 2024 in New York, NY.
            22
                                                                      /s/
            23
                                                                      David J. Youssef
            24

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                  REPLY DECLARATION OF DAVID YOUSSEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
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